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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 1:17-cv-60426-UU

  ALEKSEJ GUBAREV, et al.,

          Plaintiffs,

  v.

  BUZZFEED, INC., et al.,

        Defendants.
  _______________________________________/

                                            ORDER

          THIS CAUSE comes before the Court upon Defendants’ two motions for summary

  judgment (D.E. 212 & 214).

          ORDERED AND ADJUDGED that Defendants’ SHALL show good cause in writing no

  later than Friday, September 28, 2018, why they Court should not strike Defendants’ motions

  for summary judgment and order Defendants to file a single consolidated motion.

          DONE AND ORDERED in Chambers at Miami, Florida, this _24th_ day of September,

  2018.




                                                    __________________________________
                                                     UNITED STATES DISTRICT JUDGE

  cc:
  counsel of record via cm/ecf
